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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 13-22500-CIV-ALTONAGA
                        CASE NO. 13-24320-CIV-ALTONAGA
                        CASE NO. 14-21206-CIV-ALTONAGA

   UNITED STATES OF AMERICA ex rel.
   JONATHAN LORD, M.D.,

         Plaintiff,

   v.

   UNIVERSITY OF MIAMI,

         Defendant.
   _____________________________________________________/

   UNITED STATES OF AMERICA ex rel.
   PHILLIP CHEN, M.D. and JOSHUA YELEN,

         Plaintiff,

   v.

   UNIVERSITY OF MIAMI and
   PUBLIC HEALTH TRUST OF MIAMI-DADE COUNTY,

         Defendants.
   _____________________________________________________/

   UNITED STATES OF AMERICA ex rel.
   MITCHELL M. WALLACE,

         Plaintiff,

   v.

   PUBLIC HEALTH TRUST OF MIAMI-DADE COUNTY and
   UNIVERSITY OF MIAMI,

         Defendants.
   _____________________________________________________/
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                                                                  CASE NO. 13-22500-CIV-ALTONAGA
                                                                  CASE NO. 13-24320-CIV-ALTONAGA
                                                                  CASE NO. 14-21206-CIV-ALTONAGA

                                                     ORDER

            THIS CAUSE came before the Court at a November 2, 2020 conference regarding the

  status of the United States’ intervention and settlement of three related False Claims Act cases:

  United States ex rel. Lord v. University of Miami (No. 13-22500-Civ); United States ex rel. Chen

  v. University of Miami (No. 13-24320-Civ); and United States ex rel. Wallace v. Public Health

  Trust of Miami-Dade County (No. 14-21206-Civ). 1

            These actions under the False Claims Act were filed under seal, as required by 31 U.S.C.

  section 3730(b)(2). Section 3730(b) provides the sealed complaint and related disclosures shall

  be kept sealed for 60 days while the Government decides whether to intervene in the action. See

  id. §§ 3730(b)(2)–(4). The Government may request extending the period that the documents

  remain under seal for good cause. See id. §§ 3730(b)(2)–(3). As stated in open court, the

  Government has not timely requested extending the seal period, and the purpose for sealing these

  filings has run its course.

            In accordance with the September 18, 2020 Order [ECF No. 86] in the Lord and Chen

  cases, it is ORDERED that the Clerk shall UNSEAL these cases and their attendant filings on

  November 2, 2020. The cases remain closed until such time as a party or parties move to reopen

  them.




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      It appears notice of the hearing was not given in the Wallace case.



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                                                 CASE NO. 13-22500-CIV-ALTONAGA
                                                 CASE NO. 13-24320-CIV-ALTONAGA
                                                 CASE NO. 14-21206-CIV-ALTONAGA

        DONE AND ORDERED in Miami, Florida, this 2nd day of November, 2020.




                                                CECILIA M. ALTONAGA
                                                UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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